            Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 1 of 16



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

AMY JO FRAZIER,                           )
                                          )
              Plaintiff,                  )
                                          )
-vs-                                      ) Case No.     CIV-17-556-R
                                          )
THE CITY OF STILLWATER,                   )
OKLAHOMA, a political subdivision         )
of the State of Oklahoma,                 )
                                          )
              Defendant.                  )

                                      COMPLAINT

       Plaintiff, Amy Jo Frazier, for her causes of action against Defendant, the City of

Stillwater, a political subdivision of the State of Oklahoma, alleges and states as follows:

                                        The Parties

       1.     Plaintiff Amy Jo Frazier ("Frazier") is and at all relevant times hereto has

been a citizen of the State of Oklahoma and a resident of the Western District of

Oklahoma.

       2.     Defendant City of Stillwater ("Stillwater") is a political subdivision of the

State of Oklahoma with its principal place of business in the City of Stillwater, State of

Oklahoma.

                                  Jurisdiction and Venue

       3.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1343, 42

U.S.C. §12117 and 42 U.S.C. §2000 e-5 because Frazier's claims arise under federal law.




                                             1
             Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 2 of 16



       4.      Venue is proper in the Western District of Oklahoma pursuant to 28 U.S.C.

§1391(b) in that a substantial part of the events or omissions giving rise to the claim

occurred in Payne County which is situated in the Western District of Oklahoma.

                               Facts Applicable to All Claims

       5.      Amy Jo Frazier is a female with an actual disability that substantially limits

one or more of her major life activities and/or was regarded as having such a disability.

       6.      The City of Stillwater, Oklahoma, hired Amy Jo Frazier in 2006 as a

member of the Stillwater Parks and Recreation Department.

       7.      Plaintiff performed her job duties and responsibilities with the City of

Stillwater in a satisfactory manner leading to a series of promotions and salary increases

over the next several years.

       8.      Plaintiff, while employed and satisfactorily performing her job duties for

the City of Stillwater, was diagnosed with Multiple Sclerosis in 2007.

       9.      Immediately upon learning of her diagnosis, Plaintiff advised her

immediate supervisor.

       10.     After the diagnosis of Multiple Sclerosis and as a condition of her Multiple

Sclerosis, Plaintiff was further diagnosed with Optic Neuritis by her healthcare provider.

       11.     Plaintiff also notified her immediate supervisor of the diagnosed Optic

Neuritis and its potential complications which could impact her vision.

       12.     From 2007 until 2010, Plaintiff continued to perform her job duties and

responsibilities in a satisfactory manner while she continued to promote and receive

promotions and raises.

                                              2
                Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 3 of 16



          13.     On July 5, 2010, Plaintiff's optometrist notified and confirmed with the City

of Stillwater of the diagnosis of Optic Neuritis due to its advancing impact of Plaintiff's

vision.

          14.     Plaintiff's optometrist further explained to the City of Stillwater that her

diagnosis caused an inflammation of the optic nerve which caused symptoms of pain and

vision loss.

          15.     As of July 5, 2010, Plaintiff's optometrist opined that her vision had

deteriorated to the point that some "daily life" tasks were impacted. More specifically,

Plaintiff's optometrist opined that her conditions could limit activities like driving and the

ability to read small print.

          16.     Despite the diagnosis, Plaintiff's optometrist advised the City of Stillwater

that Plaintiff could still perform her job tasks but would need an ongoing and continuing

accommodation.

          17.     Plaintiff continued to satisfactorily perform her job duties and

responsibilities over the next few years with a reasonable accommodation which was

provided by the City of Stillwater.

          18.     On December 21, 2011, Plaintiff requested additional accommodations to

assist in maintaining her quality of work.

          19.     Plaintiff's accommodations requests included:

                • IZOOM, a computer program purchased on a USB drive that can be

                  plugged into any computer causing a magnification of the contents on the

                  screen.
                                                3
             Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 4 of 16



             • IPhone Upgrade-apps available for the new IPhone version assisting with

                the magnification process which was available at a reduced rated.

             • Extra-large Dome Magnifier-magnification portable device to allow the

                reading of small print.

             • Desk Lamp – assists the Dome Magnifier to help read small print.

       20.      Plaintiff caused a letter requesting the accommodations to be sent to her

immediate supervisor, Jim Scott, and copied Christy Luper with Human Resources and

Barbara Bliss on the correspondence.

       21.      After sending the initial December 2011 request for an accommodation,

Plaintiff's optometrist submitted another letter to clarify her condition and her ability to

perform the essential functions of her job.

       22.      Plaintiff's optometrist, in January 2012, stated that in his professional

medical opinion that Plaintiff was safe to drive and met the requirements to maintain her

driver's license.

       23.      Plaintiff's optometrist also clarified and stressed that the vision in her right

eye was sufficient to perform her job tasks but recognized that Plaintiff may require

additional accommodations in the future as her conditions changed.

       24.      In August 2012, based in part to her continued satisfactory job

performance, Plaintiff was promoted to a new position within the City of Stillwater.

       25.      On August 16, 2012, Plaintiff assumed the new responsibility and related

job objectives as the City of Stillwater Business Improvement District Coordinator for

Downtown Stillwater.
                                                4
              Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 5 of 16



       26.      As another accommodation of Frazier’s actual and/or perceived disability,

the City installed a computer at Frazier’s home so that she could access the City’s

computer servers remotely when it was necessary for Frazier to work at home due to her

disability.

       27.      From 2012 until 2015, Frazier continued to perform the essential functions

of her job and met her job objectives with the accommodations provided to her by the

City of Stillwater.

       28.      The City Manager publicly acknowledged Frazier’s ability to perform her

job and meet her job objectives with the accommodations provided as evidence by a

meeting she was asked to attend at the City of Stillwater with the City Manager and a

downtown business owner to discuss incentive grants.

       29.      During the meeting, the downtown business owner made comments

directed toward Frazier questioning her health condition and stated that "Amy Jo decides

not to come into the office anytime there is a cloud in the sky."

       30.      Galloway defended Frazier to the downtown business owner and

acknowledged publicly her accommodations and that the IT department had set up

Frazier to work remotely from her home to accommodate her health condition.

       31.      On October 22, 2015, Dan Galloway, the City Manager for the City of

Stillwater, announced the expanded role for Angela McLaughlin as she promoted to the

position Economic Development Coordinator for the City of Stillwater.

       32.      On October 28, 2015, Dan Galloway circulated an internal email

throughout the Stillwater Economic Development office further identifying the new chain

                                             5
             Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 6 of 16



of authority – "Amy Jo will no longer be a direct-report to Melissa but will now be direct

report to Economic Development Coordinator, Angela McLaughlin."

       33.     McLaughlin with direct knowledge of Frazier's medical condition and

upcoming doctor’s appointment, along with Frazier's accommodations, contacted Frazier

at her personal residence the day after the internal email outlining the new chain of

authority.

       34.     During the phone call, McLaughlin pressed Frazier for a date she would be

returning to work, a need to meet immediately and discuss workplace expectations, and a

demand to meet face to face on an emergent basis.

       35.     Frazier reminded McLaughlin of the City of Stillwater's accommodations

which allowed her to work from home on those occasions where she experienced an

exacerbation of her Multiple Sclerosis.

       36.     McLaughlin retaliated against Frazier and began to verbally harass her by

commenting that the City of Stillwater's policy manual does not allow employees to work

from home. McLaughlin further harassed Frazier by commenting that she was never in

the office and was perceived as not working.

       37.     Frazier responded to the harassing nature of McLaughlin's comments by

reminding McLaughlin that she had previously held the same position and should know

the job required her to be out in the community and involved in community events

outside the office environment.




                                            6
            Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 7 of 16



      38.     Frazier also reminded McLaughlin that she had received an accommodation

for her known and recognized disability and that the list of accommodations was

approved by the City of Stillwater.

      39.     Frazier also contacted Galloway on the same day and reported the harassing

and retaliatory actions of McLaughlin. In response, Galloway told Frazier to continue

forward with her accommodations as she had always done in the past.

      40.     Two days after the change in supervisors, Plaintiff continued to experience

an exacerbation of her Multiple Sclerosis; and, like past accommodations known and

approved by the City of Stillwater, scheduled an immediate doctor's appointment with her

physician due to her personal concerns and deteriorating vision problems.

      41.     Plaintiff also sent McLaughlin an email explaining the continued worsening

of the medical issue and scheduling of a doctor's appointment.

      42.     Due to the stress of the hostile work environment created by McLaughlin,

Frazier's Multiple Sclerosis immediately worsened causing Frazier to seek emergent care

from her optometrist.

      43.     Frazier's optometrist examined Frazier and warned that should she return to

work within the stressful work environment created by McLaughlin, she would suffer an

adverse impact on her Multiple Sclerosis and Optic Neuritis condition.

      44.     Due to the emergent condition, Frazier's optometrist suggested that she

continue to work but her health would be better by working from home in an effort to

avoid the hostility of McLaughlin.



                                            7
             Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 8 of 16



       45.     On November 4, 2015, Frazier notified McLaughlin that she was

completing her medical treatments which included out-patient IV steroid treatments but

that she was experiencing significant debilitating side effects and told McLaughlin of her

optometrist's suggestions of working from home.

       46.     In another email exchange of November 4, 2015, Frazier repeated her

optometrist's opinion and consistent with her accommodations told McLaughlin she

would continue to work from home under the circumstances.

       47.     Despite knowledge of the accommodations, McLaughlin responded by

suggesting that Frazier to take a sick day rather than allow for the previously agreed

accommodations.

       48.     Frazier continually updated McLaughlin on her medical progress for the

next several days while she continued to recover and work from her stress-free home

environment.

       49.     McLaughlin, rather than recognizing Frazier's ability to work from home

while meeting her job objectives and performance obligations, continued to insist that

Frazier utilize her sick days.

       50.     Frazier's optometrist provided written documentation to the City of

Stillwater setting forth his medical opinion that to give Frazier the best situation for the

positive visual outcome, she should continue to work from home whenever possible to

reduce the amount of stress.

       51.     Following this increased hostile, negative and retaliatory actions, Frazier's

optometrist sent additional documentation to the City of Stillwater on November 14,

                                             8
              Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 9 of 16



2015 at the request of the Human Recourses Department. Frazier's optometrist stated that

despite the recent stressor increased by the hostile work environment that Frazier could

continue her work but would need to learn new mobility techniques to cope with her

workplace requirements.

        52.     Frazier's optometrist also concluded and recommended that Frazier work

from home for one month while she adapted to the recent changes in her visual abilities.

        53.     Frazier presented her optometrist's letter to the City of Stillwater's Human

Resources Department who summarily denied Frazier's request citing that her physician's

statement was insufficient.

        54.     In a further act of retaliation, Frazier received correspondence from the City

of Stillwater's Human Resources Department forcing her to take FMLA despite being

able to continue to perform the essential functions of the job with the previously-

approved accommodations.

        55.     During the initial leave, Frazier was able to draw from her accrued vacation

and sick leave. However, the accrued leave expired and was exhausted on December 30,

2015.

        56.     On February 3, 2016, the City of Stillwater advised Frazier that her FMLA

would expire on February 22, 2016, and unless she provided a physician's release, the

City of Stillwater would fill her position.

        57.     Prior to the expiration of the FMLA, Frazier spoke on the phone with

Human Resources and, once again, explained the previous workplace accommodations.

Frazier further explained that she was able to perform the essential functions of her job

                                               9
          Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 10 of 16



before, with the previously-approved accommodations, during and after the forced

FMLA.

       58.     Despite these representations and with direct knowledge of a reasonable

accommodation, the City of Stillwater refused Frazier's request to return to work and

terminated her employment.

       59.     Frazier filed a timely Charge of Discrimination with the United States

Equal Employment Opportunity Commission, and this suit is timely commenced

following her receipt of a Notice of Suit Rights.

    FIRST CAUSE OF ACTION-VIOLATION OF THE AMERICANS WITH
DISABILITIES ACT AMENDMENTS ACT-DISCRIMINATION IN EMPLOYMENT

       60.     Plaintiff incorporates by reference Paragraphs 1 through 59 as though set

forth in full herein.

       61.     This claim is brought and jurisdiction lies pursuant to the Americans With

Disabilities Act Amendments Act (“ADAAA”), 42 U.S.C. § 12177, which incorporates

by reference Section 706 of Title VII of the Civil Rights Act of 1967, as amended, 42

U.S.C. § 2000e-5.

       62.     Plaintiff is an individual with a “disability” as that term is defined in 42

U.S.C. § 12102(1).

       63.     Plaintiff is a “person” within the meaning of Section 101(7) of the

ADAAA, 42 U.S.C. § 12111(7), and Defendant is an “employer” within the meaning set

forth in 42 U.S.C. § 12111 (5)(A). Defendant is also a “covered” entity within the

meaning of ADAAA Section 101(2), 42 U.S.C. § 12111(2).


                                            10
          Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 11 of 16



       64.    Plaintiff, with reasonable accommodation, could perform the essential

function described by her physician and customarily and routinely assigned to the within

Defendant’s workplace.

       65.    Plaintiff has been a “qualified individual with a disability” at all times

material hereto.

       66.    Plaintiff’s disability was improperly a motivating factor in Defendant’s

decision to terminate Plaintiff in violation of 42 U.S.C. § 12112(a).

       67.    As a direct and approximate result of Defendant’s aforementioned wrongful

conduct, Plaintiff has sustained substantial economic loss including past and future

compensation, and other economic benefits.        Plaintiff has further sustained loss of

financial stability, peace of mind, and future security, and has suffered embarrassment,

humiliation, mental anguish and emotional distress and discomfort, and loss enjoyment of

life, all to her detriment and damage in an amount in excess of $75,000.00.

       WHEREFORE, Plaintiff demands judgment against Defendant:

       (1)    That judgment be entered declaring that Plaintiff was unlawfully
              discriminated against by Defendant in violation of the ADAA, as
              amended;

       (2)    That Defendant be ordered to make Plaintiff whole by providing
              back pay and any and all other remedies authorized by the ADAA,
              as amended, including but not limited to salary and benefits, and
              accrued interest from the date of her termination until entry of
              judgment against Defendant and for compensatory damages for
              Plaintiff’s mental anguish, pain and suffering, and other non-
              pecuniary losses, including punitive damages allowed by the ADAA;

       (3)    That Plaintiff be awarded her costs and expenses of this litigation
              including reasonable attorney’s fees and expert witness fees; and,


                                            11
          Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 12 of 16



       (4)     That Plaintiff be granted such legal and equitable relief as the Court
               may deem just and proper.


     SECOND CAUSE OF ACTION – VIOLATION OF THE AMERICANS WITH
      DISABILITIES ACT AMENDMENTS ACT– REGARDED AS DISABLED

       68.     Plaintiff incorporates by reference Paragraphs 1 through 67 as though set

forth in full herein.

       69.     Because of Plaintiff’s physical condition as described herein, and its

perception of how that physical condition affected Plaintiff in performing her job,

Defendant believed that Plaintiff was not physically able to do her job following the

approval of the accommodations by Plaintiff’s physician.

       70.     Defendant regarded Plaintiff as being disabled to such an extent that she

could not perform the essential functions of her job, although she was performing her job

duties and functions at the time of her termination.

       71.     As a direct and approximate result of Defendant’s aforementioned wrongful

conduct, Plaintiff has sustained substantial economic loss including past and future

compensation, and other economic benefits.         Plaintiff has further sustained loss of

financial stability, peace of mind, and future security, and has suffered embarrassment,

humiliation, mental anguish and emotional distress and discomfort, and loss enjoyment of

life, all to her detriment and damage in an amount in excess of $75,000.00.

       WHEREFORE, Plaintiff demands judgment against Defendant:

       (1)     That judgment be entered declaring that Plaintiff was unlawfully
               discriminated against by Defendant in violation of the ADAA, as
               amended;


                                             12
          Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 13 of 16



       (2)     That Defendant be ordered to make Plaintiff whole by providing
               back pay and any and all other remedies authorized by the ADAA,
               as amended, including but not limited to salary and benefits, and
               accrued interest from the date of her termination until entry of
               judgment against Defendant and for compensatory damages for
               Plaintiff’s mental anguish, pain and suffering, and other non-
               pecuniary losses, including punitive damages allowed by the ADAA;

       (3)     That Plaintiff be awarded her costs and expenses of this litigation
               including reasonable attorney’s fees and expert witness fees; and,

       (4)     That Plaintiff be granted such legal and equitable relief as the Court
               may deem just and proper.

      THIRD CAUSE OF ACTION – VIOLATION OF THE ADAAA –
                       RETALIATION

       72.     Plaintiff incorporates by reference Paragraphs 1 through 71 as though set

forth in full herein.

       72.     Plaintiff engaged in protected opposition to unlawful discrimination by

complaining that she was being discriminated against on the basis of her disability.

       73.     Defendant took materially adverse employment actions against Plaintiff

because of her protected opposition as described herein.

       74.     Defendant’s reasons for the materially adverse employment actions are a

mere pretext and sham to cover up for its intentional retaliation against Plaintiff.

       75.     As a direct and approximate result of Defendant’s aforementioned wrongful

conduct, Plaintiff has sustained substantial economic loss including past and future

compensation, and other economic benefits.         Plaintiff has further sustained loss of

financial stability, peace of mind, and future security, and has suffered embarrassment,




                                             13
            Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 14 of 16



humiliation, mental anguish and emotional distress and discomfort, and loss enjoyment of

life, all to her detriment and damage in an amount in excess of $75,000.00.

          WHEREFORE, Plaintiff demands judgment against Defendant:

          (1)   That judgment be entered declaring that Plaintiff was unlawfully
                retaliated against by Defendant in violation of the ADAA, as
                amended;

          (2)   That Defendant be ordered to make Plaintiff whole by providing
                back pay and any and all other remedies authorized by the ADAA,
                as amended, including but not limited to salary and benefits, and
                accrued interest from the date of her termination until entry of
                judgment against Defendant and for compensatory damages for
                Plaintiff’s mental anguish, pain and suffering, and other non-
                pecuniary losses, including punitive damages allowed by the ADAA;

          (3)   That Plaintiff be awarded her costs and expenses of this litigation
                including reasonable attorney’s fees and expert witness fees; and,

          (4)   That Plaintiff be granted such legal and equitable relief as the Court may
                deem just and proper.

           FOURTH CAUSE OF ACTION – VIOLATION OF THE ADAAA –
                     HOSTILE WORK ENVIRONMENT

          76.   Plaintiff incorporates by reference paragraphs 1-75 though set forth in full

herein.

          77.   Plaintiff was qualified for her job and performed all of her duties and

responsibilities in a satisfactory manner as alleged above.

          78.   The City of Stillwater workplace was permeated with discriminatory

intimidation based on Plaintiff’s disability as alleged above.




                                             14
          Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 15 of 16



       79.    The discriminatory intimidation was sufficiently severe or pervasive to alter

the conditions of Plaintiff’s employment and to create an abusive working environment

as alleged above.

       80.    The discriminatory intimidation was unwelcome and unwanted because

Plaintiff did not solicit or incite the conduct and she regarded it as undesirable, offensive,

and a cause of the exacerbation of her disability.

       81.    The discriminatory intimidation was sufficiently severe or pervasive, in

both subjective and objective terms, to create an objectively hostile or abusive work

environment that altered the terms and conditions of Plaintiff’s employment.

       82.    Defendant City knew or should have known about the harassment as

described herein, had the authority to control the harassers’ conduct or otherwise protect

Plaintiff from the harassment, but it failed to take prompt and appropriate corrective

action, and instead terminated Plaintiff, the victim of the severe or pervasive harassment.

       83.    As a direct and approximate result of Defendant’s aforementioned wrongful

conduct, Plaintiff has sustained substantial economic loss including past and future

compensation, and other economic benefits.           Plaintiff has further sustained loss of

financial stability, peace of mind, and future security, and has suffered embarrassment,

humiliation, mental anguish and emotional distress and discomfort, and loss enjoyment of

life, all to her detriment and damage in an amount in excess of $75,000.00.

       WHEREFORE, Plaintiff demands judgment against Defendant:

       (1)    That judgment be entered declaring that Plaintiff was unlawfully
              retaliated against by Defendant in violation of the ADAA, as
              amended;

                                             15
      Case 5:17-cv-00556-R Document 1 Filed 05/12/17 Page 16 of 16




    (2)   That Defendant be ordered to make Plaintiff whole by providing
          back pay and any and all other remedies authorized by the ADAA,
          as amended, including but not limited to salary and benefits, and
          accrued interest from the date of her termination until entry of
          judgment against Defendant and for compensatory damages for
          Plaintiff’s mental anguish, pain and suffering, and other non-
          pecuniary losses, including punitive damages allowed by the ADAA;

    (3)   That Plaintiff be awarded her costs and expenses of this litigation
          including reasonable attorney’s fees and expert witness fees; and,

    (4)   That Plaintiff be granted such legal and equitable relief as the Court may
          deem just and proper.


                                            RESPECTFULLY SUBMITTED,



                                            s/Woodrow K. Glass
                                            Stanley M. Ward, OBA#9351
                                            Woodrow K. Glass, OBA#15690
                                            Barrett T. Bowers, OBA#30493
                                            WARD & GLASS, L.L.P.
                                            1601 N. W. 36th Street, Suite 100
                                            Norman, Oklahoma 73072
                                            405-360-9700
                                            405-360-7902 (fax)
                                            woody@wardglasslaw.com
                                            ATTORNEYS FOR PLAINTIFF



JURY TRIAL DEMANDED
ATTORNEY’S LIEN CLAIMED




                                       16
